         Case 8:20-cv-03290-PJM Document 10-4 Filed 11/16/20 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                    Southern Division

ROBERT ROTHMAN et al.
                                                      FILED UNDER SEAL
                       Plaintiffs,

       – against –                                    Case No. PJM-20-3290

DANIEL SNYDER

                       Defendant,



                            PERMANENT PROTECTIVE ORDER

       Whereas, Plaintiffs have filed a Motion for Protective Orders seeking a temporary

protective order and a permanent protective order relating to the disclosure of information and

materials in this matter (the “PO Motions”);

       Whereas, Plaintiffs also filed a Motion to Seal Entire Record in accordance with Local

Rule 105.11 on November 13, 2020, which is currently pending before this Court;

       Whereas, Plaintiffs maintain that the entire record and all pleadings related to the above-

captioned matter as necessary to be sealed (the “Sealed Record”);

       Whereas, the Court has not ruled on Plaintiffs’ Motion to Seal Entire Record since that

motion was entered on the public Court docket on November 13, 2020, and the fourteen-day

period under Local Rule 105.11 has yet to expire;

       Whereas, the Court finds that while the entire record in the matter is sealed pursuant to

the Local Rules, the Federal Rules of Civil Procedure, or order of this Court, it would frustrate

the purpose of the Sealed Record to permit disclosure of the materials and documents in the

Sealed Record to third parties by the parties to this matter;



                                                  1
         Case 8:20-cv-03290-PJM Document 10-4 Filed 11/16/20 Page 2 of 2



       Accordingly, it is this ___ day of _____________________ 2020, by the United States

District Court for the District of Maryland, ORDERED:

       1. That a permanent protective order shall surround all information and documents

contained within the Sealed Record, and while the record in this matter is sealed, all parties to

this matter shall not disclose to any third party any information or document related to the above-

matter that is contained in the Sealed Record.

       3. A copy of this Order shall be mailed to all counsel of record and to any other person

entitled to notice hereof and shall be docketed in the court file.



                       _______________________________________________

                       UNITED STATES DISTRICT JUDGE




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